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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

DONNY PHILLIPS,
      Plaintiff,
v.                                                  Case No. 4:18-cv-139-AW-MJF
MARK INCH, et al.,
     Defendants.
_______________________________/
                   ORDER FOR PRETRIAL CONFERENCE

      1.     This case is set for a pretrial conference at 2:00 p.m. on February 15,

2022. The jury trial will be in the trial term that begins at 8:30 a.m. on February 23,

2022. A party with a conflict during this trial period must file a notice within seven

days of the date of this order.

      2.     Counsel for all parties must meet on or before January 25, 2022, for the

following purposes:

             a.     To discuss the possibility of settlement;

             b.     To stipulate to as many facts and issues as possible;

             c.     To prepare the pretrial stipulation;

             d.     To examine all exhibits proposed to be used at trial;

             e.     To exchange the names and addresses of all witnesses, including
                    possible rebuttal witnesses and experts;

             f.     To discuss the question of damages, including proof to be
                    presented and any related legal issues;


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            g.     To discuss other matters that may expedite the pretrial
                   conference or the trial.

      Counsel for plaintiff shall initiate arrangements for this conference. But all

attorneys are responsible for ensuring the meeting take place—and for ensuring

compliance with this order.

      3.    The pretrial stipulation must contain:

            a.     The basis of federal jurisdiction;

            b.     A concise statement of the nature of the action;

            c.     A brief general statement of each party’s case;

            d.     A list of all exhibits to be offered at the trial, noting any
                   objections and the grounds for each objection. (Any objections
                   not listed will be deemed waived.);

            e.     A list of all witnesses, including rebuttal and expert, each party
                   intends to call. (Witness addresses must be provided to opposing
                   counsel but must not be included in the pretrial stipulation.)
                   Expert witnesses must be labeled as expert witnesses;

            f.     A concise statement of those facts that are admitted and will
                   require no proof at trial, together with any reservations directed
                   to such admissions;

            g.     A concise statement of those issues of law upon which there is
                   agreement;

            h.     A concise statement of those issues of fact that remain to be
                   litigated;

            i.     A concise statement of those issues of law that remain for the
                   court’s resolution;

            j.     A concise statement of any disagreement as to the application of
                   rules of evidence or of the Federal Rules of Civil Procedure;

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               k.       A list of all motions or other matters that require court action;

               l.       A statement whether this is now a jury or a non-jury case;

               m.       Counsel’s respective estimates of the length of the trial; and

               n.       The signature of counsel for all parties.

       4.      No later than February 8, 2022, the parties must file the pretrial

stipulation.

       5.      At the same time the parties file the pretrial stipulation, they must each

file a trial brief or memorandum with citation of authorities and arguments on all

disputed issues of law.

       6.      For any jury trial, the parties must jointly file a complete set of jury

instructions, along with a proposed verdict form. This joint filing should note any

disagreements or objections, and it must be filed at the same time as the pretrial

stipulation. When filed, the instructions and verdict form must also be emailed in

Microsoft Word format to flnd_winsor@flnd.uscourts.gov.

       7.      For any non-jury trial, each party must file proposed findings of fact

and conclusions of law, or, in the alternative, a proposed opinion or memorandum

that includes proposed findings of fact and conclusions of law, with complete

citation of authorities where appropriate. These must be filed at the same time as the

pretrial stipulation.




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      8.       Counsel for each party must arrange with the clerk for pre-marking all

exhibits that party intends to offer. They should be marked as nearly as possible in

the sequence they will be offered.

      9.       Counsel who will conduct the trial must attend the pretrial conference,

and they must be prepared to act with final authority in the resolution of all matters.

The court will ordinarily dispose of all motions and other matters then at issue.

      10.      Unless ordered otherwise at the pretrial conference, counsel for all

parties must submit a proposed pretrial order for the court’s approval within ten days

after the pretrial conference. The proposed pretrial order must incorporate and

modify the pretrial stipulation in light of any additional agreements reached and

rulings made at the pretrial conference. The pleadings will merge into the pretrial

order, which will control the course of the trial and may not be amended except by

court order.

      11.      Except as provided in this paragraph, witnesses not timely listed in the

pretrial stipulation will not be allowed to testify, and exhibits not timely listed in the

pretrial stipulation will not be admitted. If a new witness is discovered after

submission of the pretrial stipulation, the party wishing to call the witness must

immediately file notice with the witness’s name, the substance of the anticipated

testimony, and a detailed explanation for the late discovery. (The party must

simultaneously give opposing counsel the witness’s address if known.) If a new

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exhibit is discovered after submission of pretrial stipulation, the party seeking to use

it must immediately disclose it to the court and all other counsel and must provide a

detailed explanation for the late discovery. The court may adjourn the pretrial

conference from time to time or may order additional pretrial conferences.

      12.     No motion filed after the date of this order will be grounds for

postponing the pretrial conference, nor will noncompliance with any other

requirement of this order.

      13.     Any motion in limine or other pretrial motion must be filed no later than

15 days before the pretrial conference. Any response must be filed no later than 5

days thereafter.

      14.     If the case settles, all parties are responsible for immediately notifying

the court.

      15.     If a party or a party’s attorney fails to appear at a pretrial conference or

otherwise fails to comply with this order, a judgment of dismissal or default or other

appropriate judgment may be entered, and sanctions or other appropriate relief may

be imposed.

      16.     The term “counsel,” as used in this order, includes any party who is

unrepresented.

      SO ORDERED on October 1, 2021.

                                         s/ Allen Winsor
                                         United States District Judge
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